






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-06-00708-CV






Hill, Gilstrap, Riggs, Adams, &amp; Graham, L.L.P., Appellant


v.


Mark F. Schuster, Individually et al., Appellees






FROM THE DISTRICT COURT OF TRAVIS COUNTY, 53RD JUDICIAL DISTRICT

NO. D-1-GN-02-000513, HONORABLE STEPHEN YELENOSKY, JUDGE PRESIDING







M E M O R A N D U M   O P I N I O N


		On January 12, 2007, this Court sent Hill, Gilstrap, Riggs, Adams, &amp; Graham, L.L.P.
(Hill) a notice advising it that a preliminary review of the record indicated that Hill's notice of appeal
may not have been timely filed and requesting a response from Hill by January 22, 2007.  See Tex.
R. App. P. 42.3.  In response, Hill filed a motion to dismiss the appeal on January 22, 2007,
acknowledging that its notice of appeal was not timely filed.  Because the notice of appeal was not
timely filed, this Court lacks jurisdiction.  Verburgt v. Dorner, 959 S.W.2d 615, 617 (Tex. 1997). 
Accordingly, we dismiss the appeal.

											

							_____________________________________

							Diane Henson, Justice

Before Chief Justice Law, Justices Puryear and Henson

Dismissed for Want of Jurisdiction

Filed:   January 29, 2007


